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                         UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF PENNSYLVANIA

 E.J.,

                        Plaintiff                   CIVIL ACTION NO. 3:23-CV-1636

          v.                                                (MEHALCHICK, J.)

 ROBERT JOHNSON, et al.,

                        Defendants.


                                CIVIL PRACTICE ORDER
                           Use of Generative Artificial Intelligence

       Increased use of Artificial Intelligence (“AI”), particularly Generative
AI(including, but not limited to, OpenAI’s ChatGPT or Google’s Bard), in the practice of
law raises a number of practical concerns for the Court, including the risk that
the generative AI tool might generate legally or factually incorrect information, or that it
might create unsupported or nonexistent legal citations. As such, any party, whether
appearing pro se or through counsel, who utilizes any generative AI tool in the preparation
of any document to be filed in any matter pending before Judge Mehalchick, must include
with the document a Certificate of Use of Generative AI in which the party must disclose
and certify:

         a. The specific AI tool that was used;

         b. The portions of the filing prepared by the AI program; and

         c. That a person has checked the accuracy of any portion of the document
            generated by AI, including all citations and legal authority.

       Failure to comply with this Order may result in sanctions. Further, all parties and
counsel are directed to review the conclusions on pages 15 and 16 of the Joint Formal
Opinion of the Pennsylvania Bar Association and Philadelphia Bar Association
regarding the use of Artificial Intelligence and be mindful of their ethical and
professional obligations before this Court.


                                                   BY THE COURT:

Date: August 19, 2024                              s/Karoline Mehalchick
                                                   KAROLINE MEHALCHICK
                                                   United States District Judge
